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February 13, 2025

Sent via ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

cc: All Counsel of Record Line (via ECF)

RE:    The New York Times Co. v. Microsoft Corp., et al., No. 1:23-cv-11195
       Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-03285
       The Center for Investigative Reporting, Inc. v. Microsoft Corp., et al., No. 1:24-cv-04872
       Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-08292
       Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211

Dear Judge Wang:

Microsoft and OpenAI write to provide an update on the parties’ continued efforts to come to an
agreement on a deposition coordination protocol, and to request a further settlement conference
on this issue.

After nearly six months of negotiation, the parties have made some modest progress.
Specifically, Microsoft and the Class and News Plaintiffs have agreed in principle that Plaintiffs
will share 10.5 hours of time on the record deposing Microsoft Rule 30(b)(1) witnesses,
excluding apex witnesses. News Plaintiffs have also agreed with Microsoft and OpenAI to 50
hours of non-party depositions.1 OpenAI and the Class and News Plaintiffs have agreed in
principle on a protocol for coordinating depositions of OpenAI witnesses with the class action
pending in the Northern District of California in which plaintiffs in all three actions will share 12
hours of time for the deposition of OpenAI Rule 30(b)(1) witnesses, also excluding apex
depositions. The parties to the SDNY actions have further agreed in principle to propose
amendments to protective orders to allow the parties to participate in the depositions as described
above and to allow plaintiffs to share documents produced by Microsoft or OpenAI solely for the
purpose of preparing for the depositions.

Other key issues remain unresolved. Most significantly, the parties have not agreed on total
hours caps for party depositions, how to address Rule 30(b)(6) depositions, and Class Plaintiffs
have not agreed on third-party deposition caps. Defendants remain willing to negotiate in good
faith a comprehensive deposition protocol that addresses all these issues and believe one should
be entered expeditiously. The absence of a deposition protocol that includes overall hours caps
is a recipe for duplication of depositions and undue burden on Defendants. And, while Plaintiffs
may be comfortable proceeding without any protocol in place, it is not Plaintiffs’ witnesses who

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 This provision does not apply to former employees of Microsoft and OpenAI, who will be
separately addressed under an overall hours cap.
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will be affected at this time given none of their depositions have been noticed as their document
productions remain underway.

Defendants believe judicial supervision will facilitate resolution of these remaining matters, and
ask that a second settlement conference be set during the week of February 24 or March 3 and
allot the parties a day to work through as many issues as possible – with those attending having
authority to negotiate and reach agreement. Defendants believe that the parties’ discussions were
more productive during the in-person session and face-to-face communication appeared to foster
greater cooperation and compromise. If the parties are not able to resolve these issues by
agreement prior to the April 10, 2025 status conference, Defendants respectfully request that the
Court address and rule on the parties’ competing proposals regarding any unresolved disputes at
that time.

Finally, Class Plaintiffs indicated during meet and confer that they intended to ask the Court to
enter orders precluding speaking objections during depositions and precluding counsel from
meeting with witnesses during breaks of depositions. These requests are unnecessary and
premature. The parties have not yet taken any Rule 30(b)(1) depositions so there is no reason to
believe that these are issues that need to be addressed by Court order. With respect to speaking
objections, we are confident that all counsel will comply with their obligations under Rule
30(c)(2). Finally, there is no basis to limit counsel’s ability to confer with their client during
depositions, and certainly plaintiffs have not identified any concerns beyond the purely
hypothetical.



Respectfully submitted,


ORRICK, HERRINGTON & SUTCLIFFE LLP                  KEKER, VAN NEST & PETERS LLPi

/s/ Sheryl K. Garko                                 /s/ R. James Slaughter
Sheryl K. Garko                                     R. James Slaughter
Counsel for Microsoft                               Counsel for OpenAI Defendants


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 All parties whose electronic signatures are included herein have consented to the filing of this
document.
